






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-07-356 CR


____________________



JARETT EUGENE GRACE a/k/a JARRETT GRACE, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the Criminal District Court


Jefferson County, Texas


Trial Cause No. 98235






     MEMORANDUM OPINION 


	On June 18, 2007, Jarett Eugene Grace a/k/a Jarrett Grace was sentenced on a
conviction for possession of a controlled substance.  Grace filed a notice of appeal on July
3, 2007.  The trial court entered a certification of the defendant's right to appeal in which the
court certified that this is a plea-bargain case and the defendant has no right of appeal.  See
Tex. R. App. P. 25.2(a)(2).  The trial court's certification has been provided to the Court of
Appeals by the district clerk.

	On July 16, 2007, we notified the parties that the appeal would be dismissed unless
an amended certification was filed within thirty days of the date of the notice and made a part
of the appellate record.  See Tex. R. App. P. 37.1.  The record has not been supplemented
with an amended certification.

	Because a certification that shows the defendant has the right of appeal has not been
made part of the record, the appeal must be dismissed.  See Tex. R. App. P. 25.2(d). 
Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.	

								                                                        

									HOLLIS HORTON

										Justice

	

Opinion Delivered September 5, 2007                                   

Do Not Publish

Before Gaultney, Kreger, and Horton, JJ.


